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  6
  7   Attorneys for County of Merced
  8                                        United States District Court
  9                                        Eastern District of California
 10
      Karen Crane-McNab, Bert Crane and Mary                  Case No. 1:08-CV-01218-WBS-SMS
 11   Crane Couchman., individuals; Karen Crane-
 12   McNab, LLC; Bert Crane Orchards, L.P.;                  Declaration of Roger S. Matzkind
      Mary Crane Couchman Trust; and Mary
 13   Crane Couchman Family Partnership, L.P.,
 14
                             Plaintiffs,
 15
                   vs.
 16                                                           Date: April 13, 2011
      County of Merced, and Does 1 to 20,                     Time: 10:30 a.m.
 17
                                                              Courtroom: TBA
 18                          Defendants.

 19           I, Roger S. Matzkind, declare:

 20           1.         I am an attorney at law duly licensed to practice before all of the Courts of

 21   the State of California and am the Chief Civil Litigator for the County of Merced and

 22   attorneys for the defendants herein.

 23           2.         Unless otherwise stated, all matters stated herein are based upon my personal

 24   knowledge, and if called upon, I could and would testify competently as to their veracity.

 25   Those matters stated to be based upon my information and beliefs are believed by me to be

 26   true.

 27           3.         Exhibits A through F to the accompanying memorandum of points and

 28   authorities are true and correct copies of what they purport to be.



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  1            4.    The original Rule 11 motion was served on Plaintiffs on September 17,
  2   2010. I also sent a letter, Ex. B to the supplemental points and authorities in support of the
  3   Rule 11 motion, to Plaintiffs’ with the motion.
  4            5.    On December 18, 2009, I advised the Plaintiffs in open court at the hearing
  5   of a motion to compel a more complete statement of damages in accordance with Fed. R.
  6   Civ. P. 26 (a) (1) and Defendant’s motion to amend answer that the case was appropriate
  7   for Rule 11 sanctions.
  8            6.    The Defendant’s motion to compel a more complete statement of damages
  9   was denied, though the substantial merit of the motion was demonstrated during trial by
 10   the lack of evidence regarding damages.
 11            7.    Plaintiffs were provided initial and rebuttal expert reports from Mssrs.
 12   Pearson, Sullivan, McCready and Dr. Damian in accordance with Fed. R. C. P. 26, on May
 13   24, 2010, and June 14, 2010, respectively. The reports not only showed the lack of VOC
 14   intrusion, but were very critical of Plaintiffs’ experts and their methods. The same
 15   testimony was presented at trial.
 16            8.    Plaintiffs deposed Deidre Kelsey (an elected head of the Board of
 17   Supervisors) and Paul Fillebrown (the Public Works department head) regarding matters so
 18   irrelevant, Plaintiffs did not bother to introduce these witnesses, or anything about them, at
 19   trial.
 20            9.    On November 15, 2010, after the pretrial conference in the Federal Court in
 21   Fresno, Thomas Campagne, Justin Campagne, James Stone and I met in the courthouse
 22   hallway to determine if there would be any value to mediation. I had previously told
 23   Plaintiffs’ counsel in writing that the County would not pay anything to settle the case, but
 24   that a mediator could explain to Plaintiffs their exposure to public entities. Thomas
 25   Campagne stated that Mr. Souther had opined the gas extraction system being installed
 26   would remedy any intrusion and that because of this, the trial would be 1 ½ days. Mr.
 27   Campagne asked if I could provide a copy of the BAI for the contract to document the
 28   work would be done. I told him there was no migration, but that I would provide the BAI,



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  1   which was public record. Mr. Campagne also mentioned the 1 ½ day trial period in open
  2   court at the pretrial conference before Judge O’Neill.
  3            10.   I have spent 924.25 hours on this case, as documented at Exhibit 1 to this
  4   declaration. I have been licensed as an attorney by the State of California since
  5   December, 1977. While in law school, I was a certified law student, appearing in court,
  6   and providing pro bono services to the community. I was in private practice in Los
  7   Angeles until 1979. From the period 1979-1987, I was in “inactive” status with the State
  8   Bar because I was on active duty in the U.S. Army as a judge advocate stationed outside
  9   of California. During this time, among other things, I prosecuted and defended
 10   numerous criminal cases in Germany and New Jersey and then taught Constitutional Law
 11   at the USMC, West Point. I left active duty in 1987, returned to active status with the
 12   State Bar and began practicing as a deputy district attorney in Stanislaus County, trying
 13   felonies and misdemeanors. Thereafter, I was in private practice for 20 years,
 14   commencing in 1988, in Modesto, with a civil firm. I have appeared in the courts of
 15   approximately 25 counties within the state. My fee for business litigation at the time I
 16   left private practice to become Chief Civil Litigator for Merced County in 2008 was
 17   $300 per hour. Prior to that time, I was informed by an accountant who performed a
 18   survey for a motion for attorney fees by another firm, and I believe based on my own
 19   knowledge, that I was undercharging among my peers. I am peer reviewed rated “AV”
 20   by Martindale Hubbell. I am admitted to practice in the United States District Courts for
 21   the Eastern, Northern, and Central Districts of California, as well as the United States
 22   Supreme Court. I have appeared before the Ninth Circuit Court of Appeal as well as the
 23   First, Third, and Fifth Districts Court of Appeal, State of California. In my opinion, a fee
 24   of $300 per hour for my time in a complicated case such as this is more than reasonable
 25   and below the market rate for the affected area for an attorney practicing for over 30
 26   years.
 27            11.   After the trial of the case at hand, I spoke with attorney Donald Fischbach
 28   of the Fresno firm of Dowling Aaron & Keeling, whom I understand is a former



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  1   president of the State Bar. Mr. Fischbach opined that the range of $350-375 per hour
  2   would be a typical expected rate for a similar case for the chief attorney. Accordingly, a
  3   rate of $300 - $375 would be a reasonable hourly fee, the amount determined in the
  4   court’s discretion.
  5          12.     I am also familiar with the rates charged for more junior attorneys in the
  6   Central Valley, which would include Stanislaus, Merced and Fresno Counties. I also
  7   opine, based on my experience, that $200-$250 per hour is a more than reasonable rate
  8   for the services of James Stone and Marianne Greene as “associate counsel” assisting in
  9   the preparation and trial of the case. Their declarations, filed with mine, support the time
 10   they necessarily spent on the case.
 11          I declare under penalty of perjury, under the laws of the United States of America,
 12   that the foregoing is true and correct. Executed at Merced, California, on March 8, 2011.
 13
                                                     /s/ Roger S. Matzkind
 14                                                  Roger S. Matzkind

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                      Exhibit 1
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                        Roger S. Matzkind
          Karen Crane-McNab, LLC, et al. v. County of Merced
Dated        Description                                                 Time          Predominate
                                                                                       Issue
2/6/09       Crane – teleconference w/ Judge Snyder re:                  .5
             clarification of court orders
2/20/09      Crane – prepare motion to dismiss 3rd amended               .25           Landfill
             complaint, Fed. R. Civ. P. 12(b)(6) re: failure to
             exhaust administrative remedies for individual
             plaintiffs
2/25/09      Crane – prepare motion to dismiss 3rd amended               .25           Landfill
             complaint re: failure to exhaust administrative remedies
             for individual plaintiffs
2/27/09      Crane – prepare motion to dismiss 3rd amended               2.5           Landfill
             complaint re: failure to exhaust administrative remedies
             for individual plaintiffs
3/13/09      Crane – review opposition to motion to dismiss 3rd          .25           Landfill
             amended complaint
3/17/09      Review Reply to Opposition to 12(b)(6)                      .5            Landfill
3/19/09      Prepare reply to opposition to motion to dismiss            1.5           Landfill
3/20/09      Prepare reply to opposition to motion to dismiss            3.75          Landfill
3/23/09      Final reply to opposition to motion to dismiss              .25           Landfill
3/24/09      Review order on motion to dismiss                           .5            Landfill
4/1/09       Prepare answer to third amended complaint                   1.25          Landfill
4/2/09       Prepare answer to third amended complaint                   1.25          Landfill
4/3/09       Prepare and final answer to third amended complaint         .25           Landfill
4/29/09      Review proposed joint scheduling conference statement       .25           Both
5/20/09      Attend Joint Scheduling Conference                          3.75          Both
7/8/09       Meeting at DPW with Kellie Jacobs, Paul Fillebrown          3.5           Castle Dam
             and Bob Acker [MID] re: Castle Dam area; Site Visit
7/9/09       Prepare initial disclosures and review                      5.25          Both
             documents/evidence
7/16/09      Further prepare initial disclosures and review              1.5           Both
             documents/evidence
7/17/09      Further prepare initial disclosures and review              1             Both
             documents/evidence
7/20/09      Further prepare initial disclosures and review              .75           Both
             documents/evidence
7/21/09      Review additional documents to provide to plaintiffs        .25           Both
             not provided with initial disclosure
7/22/09      Receive and review plaintiffs’ initial disclosure; LR:      7.25          Both
             26(a)(1) disclosures; Prepare letter to plaintiffs’
             counsel re: 26(a)(1) disclosure and defects in disclosure
7/29/09      Attn to Discovery                                           .5            Both
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7/31/09    Attn to discovery; LR: disclosures                           1.25          Both
8/4/09     Review letter from plaintiffs’ counsel; Attempt to           .5            Both
           contact plaintiffs’ counsel by telephone re: disclosures
8/13/09    Prepare and review subpoenas and request for                 3             Landfill
           documents for AMEC and labs used by plaintiffs
8/14/09    Telephone call to Kellie Jacobs, DPW, re: evidence;          3             Castle Dam\
           prepare for teleconference with Plaintiffs; prepare
           follow-up letter after telephone call with plaintiffs’
           counsel T. Campagne
8/17/09    LR: Inverse condemnation; Teleconference with Kellie         1.5           Castle Dam
           Jacobs, DPW, re: Streams Group [Castle Dam]
8/20/09    Telephone call to Rod Andrews, Solid Waste re:               1.75          Landfill
           Landfill; review evidence
8/27/09    Review evidence re: Landfill                                 .5            Landfill
9/3/09     Prepare letter to plaintiffs re: disclosures and defect in   1.5
           plaintiffs initial disclosure re: damages
9/8/09     Review discovery documents provided in two boxes by          4             Both
           plaintiffs
9/9/09     LR: inverse condemnation                                     .5            Landfill
9/10/09    Meeting with Solid Waste re: experts                         2.5           Landfill
9/11/09    Review local rule re: motions                                .5
9/14/09    Prepare letter to Plaintiffs re: attempt to meet and         2.25          Both
           confer regarding defective disclosures and no response
           from plaintiffs; prepare papers for discovery dispute
9/18/09    Meeting with POC for JPA re: status of case                  1.25          Landfill
9/24/09    Meeting with Kellie Jacobs and Bob re: maps                  3.75          Castle Dam
9/25/09    Review research regarding inverse condemnation;              3.5           Landfill
           prepare letter to plaintiffs regarding amending answer
           with stipulation to allow amendment and amended
           answer
10/5/09    Further prepare joint statement re: discovery dispute        1.5           Both
10/9/09    Prepare letter to plaintiffs re: discovery dispute           1             Both
           including draft of motion to compel complete and
           proper disclosures and joint statement re: discovery
           dispute
10/15/09   Review letter from Plaintiffs re: discovery dispute;         1.5           Both
           Review easements; LR: inverse condemnation
10/19/09   Meeting with Paul Fillebrown, Steve Reichmuth re:            1             Castle Dam
           Castle Dam and easements
10/20/09   Prepare response to Plaintiffs response to meet and          2.5           Both
           confer letter re: discovery dispute [witnesses and
           damages]
10/30/09   Review documents re: testing                                 1.25          Landfill
10/30/09   Site visit with Kellie Jacobs [DPW] and take                 2.5           Castle Dam
           photographs of Castle Dam area
11/2/09    Meeting with Rod Andrews and Jerry Lawrie, Solid             2             Landfill
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           Waste, re: Landfill tests
11/3/09    Final motion to compel a more complete statement of          2             Both
           damages and witnesses and motion for leave to amend
           answer (re: Landfill)
11/17/09   Meeting with Rod Andrews, Jerry Lawrie and Sam               2.5           Landfill
           Chandler [DPW] re: Landfill
11/23/09   Prepare letter to plaintiffs re: Joint Statement             .25           Both
11/25/09   Legal research                                               1
12/1/09    Review plaintiffs’ opposition to motion for leave to file    1.75          Landfill
           third amended complaint
12/2/09    LR: motion to compel and review opposition to motion         3             Both
           to compel
12/3/09    Prepare Reply to opposition to motion to compel              4             Both
           damages statement
12/4/09    Prepare reply to opposition to motion for leave to file      1.25          Landfill
           amended answer
12/7/09    Prepare letter to plaintiffs re: joint statement re:         .5            Both
           discovery dispute and changes suggested by plaintiffs
12/11/09   Meeting with experts in Sacramento                           9.5           Landfill
12/14/09   Review draft Joint Statement re: discovery dispute           1             Both
           from Plaintiffs; letter to plaintiffs regarding changes to
           joint statement re: discovery dispute; review letter from
           Plaintiffs re: changes to joint statement
12/17/09   Evaluate evidence re: Landfill                               1.5           Landfill
12/18/09   Appear at motion for leave to amend and motion to            3.5           Both
           compel
1/11/10    Review evidence and respond to PRA; attempt to call          3.25          Landfill
           Wiley Driskill re: PRA
1/22/10    Review order on motion for leave and denying motion          .75           Both,
           to compel; LR: objection                                                   especially
                                                                                      Landfill.
2/5/10     Telephone call to appraiser Bob Arnold                       .5            Landfill
2/10/10    Prepare discovery                                            3             Both
2/11/10    Prepare letter to plaintiffs re: discovery                   3             Both
2/17/10    Review letter and depo notices from Plaintiffs;              1             Both
2/18/10    LR: Environmental Issues                                     2.75          Landfill
2/19/10    Prepare for conf with experts, Meeting with Bob              3.25          Landfill
           Arnold [appraiser]; Telephone call to Sam Chandler re:
           Deps
2/22/10    Prepare letter to plaintiffs re: discovery; Meeting with     2.25          Both
           witnesses
2/25/10    Letter to J. Campagne re: depositions; prepare for deps      1             Both
2/26/10    Telephone call to Patrick Sullivan re: expert opinions       .5            Landfill
3/1/10     Meeting with Fillebrown re: upcoming deposition;             4             Landfill
           Review evidence
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3/2/10     Meeting with Paul Fillebrown and Bob Smith; LR:            5             Both
           Discovery; Meeting with Kellie Jacobs re: upcoming
           deposition; prepare letter to Campagne re deps; review
           ltr from Plaintiffs re: AMEC powerpoint and Bert
           Crane Sr.
3/3/10     Meeting with Scott Johnston and Bill Nicholson re:         4.5           Landfill
           upcoming depositions; prepare Chronology of events;
           Attn to documentary evidence
3/4/10     Meeting with witnesses re: upcoming depositions;           3             Landfill
           prepare ltr to plaintiffs re: deps and Bert Crane Sr.
3/5/10     Meeting with Jerry Lawrie re: upcoming deposition          .75           Landfill
3/8/10     Prepare for and attend deposition of Supervisor Kelsey     4.25          Landfill
           in Fresno; review ltr from plaintiffs re: Bert Crane Sr.
           dep
3/9/10     Attend dep of Johnston; prepare for expert disclosure      8             Landfill
3/10/10    Prepare for dep with Fillebrown; Prepare for Deps of       7.75          Landfill
           Plaintiffs; Attend Pecchenino dep; meet with Lawrie
3/11/10    Attend Fillebrown Dep in Fresno                            7             Landfill
3/12/10    Travel to/from and attend deps of Lawrie and Jacobs in     8             Landfill
           Fresno
3/18/10    CW experts Pat Sullivan, Randy Bardini, Steve Rough        3             Landfill
3/19/10    Site Visit; meet with witnesses and experts                2.5
3/23/10    Conference with Sam Chandler re: witnesses                 .5            Landfill
3/24/10    Research re: Discovery referee; prepare for dep of         4.25          Landfill
           expert; Attn to inverse condemnation issues
3/25/10    Prepare for Deps; Meeting with Witnesses; prepare          3.5           Both
           exhibits
3/26/10    Attn to exhibits; further prepare for deps                 4.25          Both
3/29/10    Prepare for deps; RD: prod; Telephone call from JPA        5.25          Landfill
           POC
3/30/10    Prepare for and attend deposition of Mary Crane            8             Both
           Couchman
3/31/10    Prepare for and attend Deposition of Bert Crane            8             Both
4/1/10     Meeting with Jim Brown, Brad Smith and Paul                .75           Landfill
           Fillebrown re: status of case
4/2/10     Prepare for and attend depo of Karen Crane-McNab           4
4/6/10     LR: trespass and strict liability                          2.25          Landfill
4/7/10     LR: Environmental Health, witnesses                        5.25          Landfill
4/8/10     LR: trespass and strict liability                          1.25          Landfill
4/14/10    Call to Mr. Cavallero re: pictures of Castle Dam area      .25           Castle Dam
4/19/10    Telephone call to Bob Arnold re: scope of opinions         .25           Landfill
4/20/10    Attention to appraisal issue                               .25           Landfill
4/26/10    Conference with witnesses; Telephone call to               2.5           Landfill
           Environmental Health; Telephone call to Pat Sullivan
           re: opinion
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4/27/10    Attn to testing; teleconference with EH; letter to Justin     1             Landfill
           re: testing
4/29/10    Discovery including testing; prepare letter re:               6             Landfill
           conference call w/ Judge; Telephone call to Pat
           Sullivan re: testing; Telephone call to Sam Chandler
4/30/10    Attn discovery; Letter to Plaintiff and Court re:             6             Landfill
           discovery dispute; Telephone call to Paul Fillebrown;
           Teleconference with Judge Snyder re: discovery
           dispute; review confirming ltr from plaintiffs
5/3/10     Telephone call from POC for JPA re: status of case            1             Landfill
5/3/10     Telephone call to experts re: testing; Prepare ltr to         1             Landfill
           Plaintiffs re: drilling
5/4/10     Telephone call from Assessor Office re: assessor maps         3             Castle Dam
           of Crane properties; Telephone call to Terry Allen re:
           photographs of 2006 flood
5/5/10     Further prepare re: landfill issues                           2             Landfill
5/11/10    Telephone call to Wayne Pearce re: opinions                   .5            Landfill
5/12/10    Meeting with Randolph Bardini re: landfill and flowage        1.5           Landfill
5/14/10    Prepare for trial – review contracts; LR: strict Liability;   5             Both
           teleconference and research re: crop loss
5/19/10    Telephone call to experts re: opinions                        3.75          Landfill
5/20/10    Review Damian report                                          2.25          Landfill
5/23/10    Telephone call to Bob Arnold re: opinions                     .5            Landfill
5/24/10    Prepare expert disclosure                                     3             Both
5/25/10    Conference with MID                                           2             Castle Dam
5/26/10    Travel to San Bruno (Federal Archives) for copies of          11            Castle Dam
           eminent domain cases
5/27/10    Review plaintiffs expert disclosure                           1.75          Both
5/28/10    LR: Discovery, experts                                        6.5           Both
6/1/10     LR: experts; Telephone call to experts; meeting with          5             Landfill
           Bob Arnold
6/2/10     LR: motion to strike; prepare letter to plaintiff re:         4.75          Landfill
           expert disclosure dispute
6/3/10     Telephone call to experts; prepare letter to plaintiff re:    6.75          Landfill
           expert disclosures
6/4/10     Receive ltr from plaintiffs; prepare response ltr re:         5             Landfill
           experts; review property info; meeting with employees
6/7/10     LR: experts                                                   .5            Landfill
6/8/10     Evaluate evidence                                             2             Landfill
6/9/10     Review and investigate permits; review ltr from               5.75          Landfill
           plaintiffs; LR: experts; prepare response ltr regarding
           experts
6/10/10    Teleconference with Pat Sullivan;                             .25           Landfill
6/10/10    Meeting with Kellie Jacobs re: witnesses                      1.25          Castle Dam
6/10/10    Conference with Arnold and research re: limitations           1             Landfill
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6/11/10    LR: experts                                                3.25          Landfill
6/14/10    Prepare summary judgment motion                            4.25          Both
6/15/10    Continue to prepare summary judgment motion                3.75          Both
           including facts and index depos
6/16/10    Further prepare motion for summary judgment, depo          5.5           Both
           indexes
6/17/10    Telephone call to Patrick Sullivan re: opinions, review    1.25          Landfill
           report
6/17/10    Prepare ltr to Plaintiffs re: deps; Telephone call to      1.25          Landfill
           Patrick Sullivan re: opinions
7/1/10     Prepare Dep notice of experts; witness prep and review     1.25          Both
7/2/10     Meeting with Bill Nicholson; TC Pat re: preparing          3             Landfill
           expert questions
7/5/10     Dictate Bert Crane depo index for MSJ                      .75           Both
7/6/10     Telephone call from JPA POC                                .75           Landfill
7/6/10     TC Kellie Jacobs; attempt to located Ted Selb;             .75           Castle Dam
7/6/10     Index Crane Dep; Prepare for Lien Dep; LR: atty-client     5             Both
           privilege
7/6/10     Review letter from T. Campagne re: mediation               .25           Both
7/7/10     Conference with Sam Chandler re: status; LC Wayne          .5            Landfill
           Pearce re: expert depos
7/7/10     Review expert opinions and LR: evaluation; attend          5             Landfill
           Dep. of Lien; Teleconference w/Bob Arnold re: Lien
           Dep
7/7/10     LR: Atty-client privilege; Dictate depo index of Mary      2.5           Both
           Crane Couchman
7/8/10     Prepare for deps of experts                                6             Landfill
7/9/10     Prepare for expert deps; Travel to Fresno for Ross Dep     8.5           Landfill
7/12/10    Review 3rd report; Telephone call to Wayne Pearce re:      7.5           Landfill
           expert report; Meeting with Steve Reichmuth re:
           testing; RD: Crane Dep; Teleconference w/ SCS re:
           Docs to produce; begin work on expert motion; LR:
           inverse condemnation; Teleconference w/Pat Sullivan
           and Wayne Pearce
7/12/10    Meeting w/ Steve Reichmuth and Kellie Jacobs Re:           2             Castle Dam
           Castle Dam/Canal Creek
7/13/10    Telephone call to Kellie Jacobs re: Canal Creek/Castle     .75           Castle Dam
           Dam
7/13/10    Meeting with Bill Nicolson; prepare for Dep; travel        6.25          Landfill
           to/from Fresno and attend dep of Reichmuth; ltr to
           plaintiffs withdrawing Nicholson as expert
7/13/10    Work on motion to exclude experts; prepare for             1             Landfill
           Souther Dep
7/14/10    Prepare for deps; travel to Fresno and Attend Souther      8.5           Landfill
           Dep; return; Telephone call to Patrick Sullivan re: deps
7/15/10    Teleconference with SCS; Conference w/Sam Chandler         1.75          Landfill
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           re: Deps; Telephone call from Wayne Pearce re:
           Souther Dep
7/15/10    Prepare Draft motion for Sanctions                         7.75           Both
7/15/10    LR: experts; Meeting with Sam Chandler [Solid Waste]       .5             Landfill
7/15/10    Receive correspondence from Crane re: testing;             1.5            Landfill
           Conference with Randy Bardini re: reduced flow at
           Landfill
7/16/10    Telephone call to Pat Sullivan; Conference with Solid      10.25          Landfill
           Waste; Travel to Fresno and attend Sullivan and Bert
           Crane Deps; return
7/19/10    Conference with Sam Chandler; prepare motion to            1.25           Landfill
           strike experts
7/19/10    LR: motion to strike; Prepare meet and confer letter       4              Landfill
7/20/10    prepare motion to compel; RD: lien Dep; LR: clean          2.25           Landfill
           water act; Conference with atty for JPA
7/23/10    PR motion to strike; LR: clean water act                   1              Landfill
7/24/10    Attn to mo; LR: 404; Prepare ltr to plaintiffs’ counsel    1.25           Landfill
           re; mediation
7/27/10    Prepare motion to strike experts                           1              Landfill
7/27/10    prepare motion for summary judgment                        .5             Both
7/28/10    Prepare motion for summary judgment; receive               1              Both
           correspondence from Plaintiffs; draft response
8/2/10     Meeting with Sam Chandler re: status                       .25            Landfill
8/2/10     LR: re dam regulations                                     1.5            Castle Dam
8/3/10     Prepare separate statement for motion for summary          2              Both
           judgment
8/4/10     Further prepare motion for summary judgment separate       2.5            Both
           statement
8/9/10     Telephone call to Raymond Barsch of Reclamation            .25            Castle Dam
           Board
8/10/10    Further prepare motion for summary judgment                2.75           Both
8/11/10    Further prepare motion for summary judgment, P&A’s         1              Both
8//12/10   Further motion for summary judgment                        1              Both
8/13/10    LR: motion for summary judgment and inverse                2              Both
           condemnation; investigation re: appraiser; prepare
           motion for summary judgment
8/15/10    Further prepare motion for summary judgment                2              Both
8/16/10    Further prepare motion for summary judgment;               .5             Both
           research re: drilling
8/17/10    Prepare letter to plaintiffs’ counsel re motion for        5              Both
           summary judgment; further prepare motion for
           summary judgment
8/18/10    Review plaintiffs’ opp to mo. to strike experts; Prepare   4.75           Both
           summary judgment motion
8/19/10    Further prepare motion for summary judgment                6              Both
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8/20/10    Review plaintiffs’ opposition to motion to strike          5.25          Both
           experts; Prepare motion for summary judgment;
8/20/10    Telephone call to Steve Reichmuth re: castle dam           .5            Castle Dam
8/23/10    Prepare reply to opp to mo. to strike experts; Prepare     3             Both
           summary judgment motion
8/24/10    Prepare motion for summary judgment; Prepare               4             Both
           declarations in support; Telephone call to Reclamation
           Board re: review their docs
8/25/10    Telephone call to Reclamation Board re: permits;           .5            Castle Dam
8/25/10    Further prepare motion for summary judgment                5             Both
8/26/10    Further prepare motion for summary judgment; Prepare       6.5           Both
           motion to strike plaintiffs’ experts
8/27/10    Further prepare motion for summary judgment; prepare       9.5           Both
           reply mo. to strike plaintiffs’ experts
8/30/10    Further prepare motion for summary judgment; review        6.75          Both
           ltr from plaintiffs
8/31/10    Further prepare motion for summary judgment;               7.25          Castle Dam
           Meeting with Kellie Jacobs re: Castle Dam/Canal
           Creek; prepare ltr to plaintiffs
9/1/10     Final declarations in support of motion for summary        7.75          Castle Dam
           judgment; Meeting with Hisham Eltal; Meeting with
           Solid Waste; review P&A’s
9/2/10     Further prepare motion for summary judgment;               6             Both
           conference with witnesses, review declarations
9/2/10     Prepare for hearing on motion to strike plaintiffs’        2             Landfill
           experts
9/3/10     Travel to/from and attend motion to strike plaintiffs’     4             Landfill
           experts
9/3/10     Further prepare motion for summary judgment                4.75          Both
9/6/10     Further prepare motion for summary judgment                2             Both
9/7/10     Prepare order on motion to strike; Final and file motion   11.5          Both
           for summary judgment
9/8/10     Final motion for summary judgment                          1.5           Both
9/9/10     Prepare request for retroactive leave to file motion for   .75           Both
           summary judgment in excess of 25 pages
9/10/10    Prepare Rule 11 motion                                     .5            Both
9/13/10    Further prepare Rule 11 motion; ltr to plaintiffs re:      1             Both
           proposed order on motion for sanctions
9/14/10    Further prepare Rule 11 motion                             2.75          Both
9/15/10    Attn to reply to MSJ; Prepare Rule 11 mo and MSJ           6             Both
9/16/10    Further prepare Rule 11 motion                             1             Both
9/17/10    Review objections filed by plaintiffs to order on motion   3             Both
           for sanctions; dictate letter re: Rule 11 motion
9/17/10    Prepare response to objections to order                    1.5           Both
9/22/10    Prepare reply to motion for summary judgment;              1.25          Both
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           Receive documents (permits)
9/24/10    Prepare objections and reply in anticipation of             1.5           Both
           opposition to motion for summary judgment
9/24/10    Telephone call to Patrick Sullivan re: MSJ (x2)             1.5           Landfill
9/27/10    Prepare anticipated reply to Opp. To MSJ; dep experts:      2.25          Both
           research; LR: motion for summary judgment
9/28/10    Prepare anticipated reply to MSJ                            .75           Both
9/29/10    Further Prepare Reply to MSJ                                1             Both
10/5/10    Prepare reply and objections to motion for summary          9             Both
           judgment; telephone calls to/from experts at SCS
10/6/10    Final reply to opp. to motion for summary judgment          8.5           Both
           and evidentiary objections
10/8/10    Receive correspondence from J. Campagne re: Rule 11         .75           Both
10/13/10   Receive and review order re: MSJ                            5.5           Both
10/14/10   Prepare mandatory settlement conference statement           1.75          Both
           then Teleconference with J. Campagne and Judge
           Snyder re: cancelling MSC; Telephone call from
           Robert Haden of JPA re: status
10/15/10   LR: Landfill taking                                         .5            Landfill
10/15/10   Review ltr from plaintiffs re: damages                      .5            Both
10/19/10   Prepare joint Pretrial statement                            3.25          Both
10/22/10   Further prepare joint pretrial statement                    2.25          Both
10/25/10   Prepare joint pretrial statement; find witnesses; Prepare   1             Both
           motions in limine re: inv. Cond.
10/26/10   LR: Gov. Code 835.4                                         .25           Landfill
10/27/10   Prepare for trial: motions in limine re: Lien, Meeting      1.5           Landfill
           with Solid Waste re: Landfill management
10/27/10   Telephone call to Pat Sullivan to alert experts re: trial   .25           Both
10/28/10   Prepare joint Pretrial statement                            2.5           Both
10/29/10   Further LR re: inv. Cond.; Prepare joint pretrial           8             Both
           statement; ltr to plaintiffs re: joint pretrial statement
11/1/10    PR for trial: joint statement; Telephone call to State      5             Both
           Reclamation Brd re: permits, site visit to landfill and
           surrounding areas
11/2/10    Evaluate evidence; Conference with state employees;         9.75          Both
           Prepare pretrial statement; Teleconference with Pat
           Sullivan; LR: landfill
11/3/10    Further prepare joint statement; Prepare letter to J.       6.5           Both
           Campagne re: tender; prepare letter to plaintiffs re:
           joint statement
11/4/10    Prepare for trial; organize evidence and work on            2             Both
           disclosure
11/5/10    Prepare for trial – evaluate evidence and work on           6.25          Both
           exhibit lists; coordinate with experts; research re:
           appraisal standard
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11/8/10    Telephone call with Wiley Driskill re: Joint statement      1             Both
11/8/10    Joint statement                                             2.25          Both
11/9/20    Prepare for trial – review evidence re: china cabin         .75           Both
11/15/10   Travel to/from and attend pretrial conference in Fresno     4.5           Both
11/17/10   Teleconference with Kellie Jacobs                           1.75          Castle Dam
11/18/10   Prepare for trial                                           2             Both
11/19/10   Prepare for trial                                           1.5           Both
11/22/10   Prepare for trial: prepare motion in limine re: Souther;    5.5           Landfill
           Conference with Steve Rough re: BAI’s
11/23/10   Motions in limine                                           .75           Both
11/24/10   Motions in limine                                           2.75          Both
12/2/10    Prepare for trial – email Ward Taber re: docs; index        2.5           Castle Dam
           Kellie Jacobs Dep
12/2/10    Teleconference re: Eminent domain lit records               .5            Castle Dam
12/3/10    Prepare for trial – prepare opposition to motions in        4.75          Landfill
           limine; teleconference w/ Wayne Pearce; dictate Ross
           depo index; dictate Johnston depo index
12/6/10    Prepare for trial – index Johnston depo                     1.25          Both
12/7/10    Prepare for trial; ltr to plaintiffs re: gas collection     3.25          Landfill
           system
12/9/10    Prepare for trial                                           2.25          Both
12/10/10   Prepare for trial – index Souther dep                       3.25          Landfill
12/13/10   Prepare opposition to motions in limine; prepare for        3.25          Landfill
           trial – index Souther depo
12/14/10   Telephone call from POC from JPA                            .5            Landfill
12/15/10   Teleconference with Kellie Jacobs re: reclamation           .5            Castle Dam
           agency
12/16/10   RD opposition to Lien motion in limine                      .5            Landfill
12/16/10   Conference with Kellie and Reclamation Board                1.75          Castle Dam
12/17/10   Review ltr from T. Campange re: Mediation                   .5            Both
12/20/10   Receive correspondence re: mediation; prepare for           3.75          Landfill
           trial; conference with Rod Andrews re: Landfill;
           prepare response ltr re: mediation
12/21/10   Teleconference with Wayne Pearce re: exhibits for trial     .5            Landfill
12/21/10   Teleconference with SCS re: exhibits for trial              .75           Landfill
12/23/10   Prepare for trial – review order and analyze order of       .5            Landfill
           trial; index Lien Depo
12/27/10   Prepare for trial                                           4.75          Both
12/28/10   Prepare for trial – organize evidence                       2.75          Both
12/29/10   Prepare for trial – prepare trial exhibits                  6.75          Both
1/2/11     Prepare for trial – review exhibits; prepare trial brief;   4.75          Both
           teleconference with Sullivan re: exhibits
1/4/11     Review exhibits                                             1.75          Both
1/5/11     Attn to exhibits and review plaintiff’s                     5             Both
1/6/11     Exhibit conference; evaluate exhibits; prepare trial        2.75          Both
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           brief
1/7/11     Prepare trial brief                                        2.5           Both
1/10/11    Prepare for trial                                          5.5           Both
1/11/11    Prepare for trial – index Bert Crane Dep (II); attention   6.5           Both
           to exhibits and court rules; Teleconference w/Royer(2);
           Teleconference w/Jacobs; Teleconference w/Johnston;
           conference with Andrews; review order
1/12/11    Drop off evidence to appraisal consultant McBay; attn      6             Landfill
           to exhibit list; conference with McBay in Turlock
1/13/11    Prepare trial brief                                        4.5           Both
1/14/11    Prepare for trial – prepare trial brief, exhibit lists;    7.25          Castle Dam
           conference with Johnston, Kellie Jacobs, and Len
           Marino
1/17/11    Travel to/from Sacramento, conference with experts         14            Landfill
1/18/11    Prepare for trial – prepare cross examination;             9             Landfill
           teleconference with Damian; Teleconference with
           McBay; Teleconference with Judge; Teleconference
           with atty Sherwood re: appraisal issues
1/19/11    Prepare for trial – conference with Reichmuth;             9.25          Both
           teleconference with Sullivan; conference with Jacobs;
           conference with Marino
1/20/11    Witness preparation; teleconference with McBay;            11.5          Both
           conference with Johnston, Andrews, Yerrick, Hicham
           Eltal
1/21/11    Prepare witnesses: Sullivan, McCready, Bardini,            5.25          Landfill
           Lawrie
1/21/11    Prepare for trial – conference with McBay re: cross of     1             Both
           Lien
1/21/11    Prepare opening                                            1             Both
1/22/11    Prepare opening; prepare cross of Souther                  1             Both
1/23/11    Prepare for trial                                          8             Both
1/24/11    Trial and prepare for trial                                15            Both
1/25/11    Trial and prepare for trial                                15            Both
1/26/11    Trial and prepare for trial                                11            Both
1/28/11    Conference with clients; LR: drainage                      8             Landfill
1/29/11    Prepare post-trial brief                                   1             Landfill
1/30/11    Prepare post-trial brief                                   1             Landfill
1/31/11    Prepare post-trial brief                                   6             Landfill
2/1/11     Prepare post-trial brief                                   2.25          Both
2/2/11     Attn to LR and post-trial brief                            6             Both
2/8/11     Review Decision; LR: Bill of costs;                        2.75          Both
2/9/11     Prepare supplemental P&A’s for Rule 11 Motion              1             Both
2/10/11    Further prepare supplemental P&A’s for Rule 11             3.5           Both
           Motion
2/14/11    Attn to motion for atty fees                               .25           Both
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2/15/11    Prepare for costs                                      .25           Both
2/16/11    Attn to Rule 11 motion and motion for atty fees        4             Both
2/17/11    Attn to Rule 11 motion; prepare suppl. P&A’s           .5            Both
2/17/11    Memo of costs                                          1.75          Both
2/18/11    Further prepare Rule 11 motion                         2.5           Both
2/22/11    LR: 42 USC 1988                                        2             Both
2/23/11    LR: atty fees; LR: bill of costs                       1.5           Both
TOTAL
                                                                  924.25
HOURS
